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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                              (Northern Division)

UNITED STATES OF AMERICA )
                         )
     v.                  )                  CRIM. NO. DLB-22-045
                         )
JASON M. EDMONDS,        )
                         )
     Defendant.          )
_____ __________________)

                 ENTRY AND SUBSTITUTION OF APPEARANCE

       Dear Madam Clerk:

       Please enter my appearance as co-counsel for the United States in this matter,

and strike the appearance of Assistant United States Attorney Leo Wise, who is currently

assigned to a detail outside of this District.

                                                 Respectfully Submitted,

                                                 EREK L. BARRON
                                                 UNITED STATES ATTORNEY




                                                 Bijon A. Mostoufi
                                                 Assistant U.S. Attorney

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